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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES -
                                    GENERAL

   Case No.       EDCV 21-01328-JWH(SHKx)                      Date    November 22, 2022
   Title     Gene Pool Technologies, Inc. v. Costal Harvest, LLC

   Present: The Honorable       JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE
                Deborah Lewman                                 Sharon Seffens
                 Deputy Clerk                                 Court Reporter
     Attorney(s) Present for Plaintiff(s):          Attorney(s) Present for Defendant(s):
              Ryan R. Owens                                  Timothy L. Alger
                                                             James R. Gourley

 Proceedings:       HEARING RE DEFENDANT’S RENEWED MOTION TO
                    STAY CASE PENDING INTER PARTIES REVIEW [66];
                    DEFENDANT’S MOTION TO DISMISS CASE BASED ON
                    THE ILLEGALITY DOCTRINE [76]; SCHEDULING
                    CONFERENCE

        Counsel state their appearances. The Court confers with counsel and hears
 oral argument.

        Defendant Costal Harvest, LLC’s Renewed Motion to Stay Case Pending Inter
 Parties Review [ECF No. 66] is DENIED, for the reasons stated on the record.

         Defendant Costal Harvest, LLC’s Motion to Dismiss Case Based on the
 Illegality Doctrine [ECF No. 76] is DENIED, for the reasons stated on the record.

      The Court sets a trial schedule. The Court will issue a separate trial
 scheduling order.

           The Court will issue its Revised Standing Order.

           IT IS SO ORDERED.


                                                                                  Time: 00:44
                                                                        Initials of Preparer: djl
